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  7
  8                          UNITED STATES DISTRICT COURT
  9                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
 10                                  WESTERN DIVISION
 11   ALEJANDRO RODRIGUEZ,                          )   Case No. CV-07-3239-TJH (RNBx)
      ABDIRIZAK ADEN FARAH, YUSSUF                  )
 12   ABDIKADIR, ABEL PEREZ RUELAS,                 )
      JOSE FARIAS CORNEJO, ANGEL                    )   PETITIONERS’ STATEMENT
 13   ARMANDO AYALA, for themselves and             )   OF UNCONTROVERTED FACTS
      on behalf of a class of similarly-situated    )   AND CONCLUSIONS OF LAW
 14   individuals,                                  )   IN SUPPORT OF MOTION FOR
                                                    )   SUMMARY JUDGMENT OR, IN
 15               Petitioners,                      )   THE ALTERNATIVE,
                                                    )   SUMMARY ADJUDICATION
 16               v.                                )
                                                    )   Honorable Terry J. Hatter
 17   ERIC HOLDER, United States Attorney           )
      General; JANET NAPOLITANO,                    )   Date: May 6, 2013
 18   Secretary, Homeland Security; THOMAS          )   Time: Under Submission
      G. SNOW, Acting Director, Executive           )
 19   Office for Immigration Review; TIMOTHY        )
      ROBBINS, Field Office Director, Los           )
 20   Angeles District Immigration and Customs      )
      Enforcement; WESLEY LEE, Officer-in-          )
 21   Charge, Mira Loma Detention Center; et al.;   )
      RODNEY PENNER, Captain, Mira Loma             )
 22   Detention Center; SANDRA HUTCHENS,            )
      Sheriff of Orange County; OFFICER             )
 23   NGUYEN, Officer-in-Charge, Theo Lacy          )
      Facility; CAPTAIN DAVIS                       )
 24   NIGHSWONGER, Commander, Theo Lacy             )
      Facility; CAPTAIN MIKE KREUGER,               )
 25   Operations Manager, James A. Musick           )
      Facility; ARTHUR EDWARDS, Officer-in-         )
 26   Charge, Santa Ana City Jail; RUSSELL          )
      DAVIS, Jail Administrator, Santa Ana City     )
 27   Jail,                                         )
                                                    )
 28               Respondents.                      )

               PETITIONERS’ STATEMENT OF UNCONTROVERTED FACTS AND CONCLUSIONS
               OF LAW IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT OR ADJUDICATION
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               PETITIONERS’ STATEMENT OF UNCONTROVERTED FACTS AND CONCLUSIONS
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  1          Pursuant to Federal Rule of Civil Procedure 56 and Local Rule 56-2, Petitioners
  2   identify below the uncontroverted facts and conclusions of law. Petitioners also
  3   provide background facts that Petitioners do not believe need be adjudicated in order
  4   to resolve their claims for relief, but which may become relevant if this matter
  5   proceeds in a forum where existing Ninth Circuit law no longer governs.
  6
          Issue 1: Members Of The 1226(c) Subclass Are Entitled To Casas Hearings1
  7
  8                  Uncontroverted Facts                          Supporting Evidence
      Class members are being detained in the Central         Petitioners’ Motion for Class
  9
      District of California pursuant to 8 U.S.C              Certification, Declaration of
 10   § 1226(c).                                              Jennifer Stark ¶¶ 3, 15 (Dkt.
                                                              101-2); Respondents’ Notice
 11
                                                              of Non-Opposition to
 12                                                           Petitioners’ Motion for Class
                                                              Certification at 2-3 (Dkt. 122)
 13
      But for the preliminary injunction entered by this      Responses of the Department
 14   Court on September 13, 2012, Respondents would          of Justice to Petitioners’ First
      not have a policy or practice of providing and          Set of Requests for Admission
 15
      would not provide Casas hearings to persons in the      No. 1 (Kaufman Dec. Ex. K);
 16   1226(c) Subclass.                                       Deposition of Assistant Chief
                                                              Immigration Judge Thomas
 17
                                                              Fong (hereinafter “Fong
 18                                                           Depo.” at 88:16-18; 88:25-
 19                                                           89:5 (attached as Exhibit E to
                                                              the Declaration of Cody
 20                                                           Jacobs)
 21
 22
 23
 24
 25   1
        A “Casas hearing” is a bond hearing where the government bears the burden of
 26   proof by clear and convincing evidence to show that a detainee presents a danger or
      flight risk sufficient to justify his or her detention. See V. Singh v. Holder, 638 F.3d
 27   1196, 1203 (9th Cir. 2011); Casas-Castrillon v. Dep't of Homeland Sec., 535 F.3d
      942, 951 (9th Cir. 2008). In addition, a Casas bond hearing must be recorded for
 28   transcription. V. Singh, 638 F.3d at 1208-10.
                                                 1
               PETITIONERS’ STATEMENT OF UNCONTROVERTED FACTS AND CONCLUSIONS
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  1                  Uncontroverted Facts                        Supporting Evidence
  2   Prior to the preliminary injunction entered by this   Fong Depo. at 88:16-18;
      Court on September 13, 2012, persons in the           88:25-89:5 (Jacobs Dec. Ex.
  3   1226(c) Subclass were being detained for six          E); Responses of the
  4   months or longer without a bond hearing.              Department of Justice to
                                                            Petitioners’ First Set of
  5                                                         Requests for Admission No. 1
  6                                                         (Kaufman Dec. Ex. K);
                                                            Petitioners’ Motion for Class
  7                                                         Certification, Declaration of
  8                                                         Jennifer Stark ¶¶ 3, 15 (Dkt.
                                                            101-2)
  9
 10                                     Conclusion of Law
 11         Persons detained pursuant to 8 U.S.C. § 1226(c) are entitled to a Casas hearing
 12   no later than six (6) months after being detained. See Diouf v. Napolitano (Diouf II),
 13   634 F.3d 1081, 1086 (9th Cir. 2011) (holding that detention becomes prolonged at six
 14   months, and therefore that 8 U.S.C. § 1231(a) should be read to require Casas bond
 15   hearings for individuals detained more than six months under that statute); Casas-
 16   Castrillon v. DHS, 535 F.3d 942, 950 (9th Cir. 2008) (holding that prolonged
 17   detention without a bond hearing raises serious constitutional concerns and construing
 18   Section 1226(c) to authorize only brief detention without a bond hearing); cf. Demore
 19   v. Kim, 538 U.S. 510, 523, 526, 530-31 (2003) (upholding constitutionality of “brief”
 20   mandatory detentions under Section 1226(c)).
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               PETITIONERS’ STATEMENT OF UNCONTROVERTED FACTS AND CONCLUSIONS
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  1      Issue 2: Members Of The 1225(b) Subclass Are Entitled To Bond Hearings
  2                  Uncontroverted Facts                         Supporting Evidence
  3   Class members are being detained in the Central        Petitioners’ Motion for Class
      District of California pursuant to 8 U.S.C             Certification, Declaration of
  4   § 1225(b).                                             Jennifer Stark ¶¶ 3, 15 (Dkt.
  5                                                          101-2); Respondents’ Notice
                                                             of Non-Opposition to
  6                                                          Petitioners’ Motion for Class
  7                                                          Certification at 2-3 (Dkt. 122)
      But for the preliminary injunction entered by this     Deposition of Assistant Field
  8   Court on September 13, 2012, Respondents would         Office Director Wesley Lee
  9   not have a policy or practice of providing and         (hereinafter “Lee Depo.”) at
      would not provide Casas hearings to persons in the     17:8-10) (Dec. Ex. F)
 10   1225(b) Subclass.
 11   But for the preliminary injunction entered by this     Lee Depo. at 44:18 – 45:9
      Court on September 13, 2012, persons in the            (Jacobs Dec. Ex. F);
 12
      1225(b) Subclass would be detained for six months      Petitioners’ Motion for Class
 13   or longer without a bond hearing.                      Certification, Declaration of
                                                             Jennifer Stark ¶¶ 3, 15 (Dkt.
 14
                                                             101-2)
 15
 16                                    Conclusions of Law
 17         Persons detained pursuant to 8 U.S.C. § 1225(b) are entitled to a bond hearing
 18   no later than six (6) months after being detained. See Diouf II, 634 F.3d at 1086
 19   (holding that detention becomes prolonged at six months, and that 8 U.S.C. § 1231(a)
 20   should be read to require Casas bond hearings for individuals detained more than six
 21   months); Casas-Castrillon, 535 F.3d at 950 (holding that prolonged detention without
 22   a bond hearing raises serious constitutional concerns, and construing Section 1226(c)
 23   to authorize only brief detention without a bond hearing); cf. Demore v. Kim, 538 U.S.
 24   510, 523, 526, 530-31 (2003).
 25         8 U.S.C. § 1225(b) applies to non-citizens “seeking admission” to the United
 26   States, including certain lawful permanent residents returning from trips abroad, and
 27   the statute must be construed in light of its application to such lawfully admitted non-
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               PETITIONERS’ STATEMENT OF UNCONTROVERTED FACTS AND CONCLUSIONS
               OF LAW IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT OR ADJUDICATION
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  1   citizens. See Nadarajah v. Gonzales, 443 F.3d 1069, 1077 (9th Cir. 2006)
  2   (recognizing that lawfully-admitted non-citizens are detained under Section 1225(b),
  3   and construing that statute to permit only a “brief and reasonable” detention period of
  4   presumptively six months); see also Clark, 543 U.S. at 378 (construing Section 1225
  5   to avoid constitutional problems arising from its applicability to lawfully-admitted
  6   noncitizens).
  7
  8      Issue 3: Members Of The 1226(a) Subclass Are Entitled To Bond Hearings
  9                  Uncontroverted Facts                         Supporting Evidence
 10   Class members are being detained in the Central        Petitioners’ Motion for Class
      District of California pursuant to 8 U.S.C             Certification, Declaration of
 11   § 1226(a).                                             Jennifer Stark ¶¶ 3, 15 (Dkt.
 12                                                          101-2); Respondents’ Notice
                                                             of Non-Opposition to
 13                                                          Petitioners’ Motion for Class
 14                                                          Certification at 2-3 (Dkt. 122)
      Respondents do not have a policy or practice of        Fong Depo. at 45:12-46:24
 15   providing and would not provide a Casas hearing        (Jacobs Dec. Ex. E)
 16   to persons in the 1226(a) Subclass who have been
      detained more than six months.
 17
 18                                    Conclusions of Law
 19         Persons detained pursuant to 8 U.S.C. § 1226(a) are entitled to a Casas hearing
 20   no later than six (6) months after being detained. See Casas-Castrillon v. DHS, 535
 21   F.3d at 950; Diouf II, 634 F.3d at 1086 (holding that detention becomes prolonged at
 22   six months).
 23         Class members detained pursuant to 8 U.S.C. § 1226(a) include people who
 24   have a reinstated prior order of removal and are detained pending a reasonable fear
 25   determination and withholding-only removal proceedings, people who entered the
 26   country through the Visa Waiver Program, and others in various procedural postures
 27   that are not explicitly exempt from the class definition. See Ortiz-Alfaro v. Holder,
 28
                                                4
               PETITIONERS’ STATEMENT OF UNCONTROVERTED FACTS AND CONCLUSIONS
               OF LAW IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT OR ADJUDICATION
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  1   694 F.3d 955, 958 (9th Cir. 2012) (holding that reinstated removal orders are not
  2   “final” until completion of reasonable fear and withholding-only proceedings); see
  3   generally 8 U.S.C. § 1187 (Visa Waiver Program).
  4
  5      Issue 4: Members Of The 1231(a) Subclass Are Entitled To Bond Hearings
  6                  Uncontroverted Facts                        Supporting Evidence
  7   Class members are being detained in the Central       Petitioners’ Motion for Class
      District of California pursuant to 8 U.S.C            Certification, Declaration of
  8   § 1231(a).                                            Jennifer Stark ¶¶ 3, 15 (Dkt.
  9                                                         101-2) Respondents’ Notice
                                                            of Non-Opposition to
 10                                                         Petitioners’ Motion for Class
 11                                                         Certification, at 2-3 (Dkt. 122)
      Prior to recent Ninth Circuit precedent,              Arulanantham Dec. ¶¶ 104,
 12   Respondents did not have a policy or practice of      157-58
 13   providing and would not provide a Casas hearing
      to persons in the Section 1231(a) Subclass.
 14
      Prior to recent Ninth Circuit precedent, persons in   Arulanantham Dec. ¶¶ 104,
 15   the Section 1231(a) Subclass were being detained      157-58
      for six months or longer without a bond hearing.
 16
 17                                     Conclusion of Law
 18         Persons detained pursuant to 8 U.S.C. § 1231(a) are entitled to a Casas hearing
 19   no later than six (6) months after being detained. See Diouf II, 634 F.3d at 1086
 20   (extending Casas to people detained for six months or more under Section
 21   1231(a)(6)).
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               PETITIONERS’ STATEMENT OF UNCONTROVERTED FACTS AND CONCLUSIONS
               OF LAW IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT OR ADJUDICATION
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  1        Issue 6: All Class Members Are Entitled To A Bond Hearing Before An
  2       Immigration Judge That Considers The Likelihood That A Detainee Will
  3       Ultimately Be Deported, The Length Of Past And Future Detention, And
  4                                 Alternatives To Detention
  5                  Uncontroverted Facts                         Supporting Evidence
  6   Before and after the preliminary injunction entered     Fong Depo. at 49:5-51:7;
      by this Court on September 13, 2012, Respondents        53:21-54:25; 135:5-14 (Jacobs
  7   have not had and do not have a consistent policy or     Dec. Ex. E); In re Guerra, 24
  8   practice of considering, at class members’ bond         I. & N. Dec. 37 (BIA 2006)
      hearings, the likelihood that persons in the class
  9   will ultimately be deported.
 10   Before and after the preliminary injunction entered     Fong Depo. at 46:3-9 (Jacobs
      by this Court on September 13, 2012, Respondents        Dec. Ex. E); In re Guerra, 24
 11   have not had and do not have a consistent policy or     I. & N. Dec. 37 (BIA 2006)
 12   practice of considering, at class members’ bond
      hearings, the length of past and future detention.
 13
      Before and after the preliminary injunction entered     Fong Depo. at 57:11-59:14
 14   by this Court on September 13, 2012, Respondents        (Jacobs Dec. Ex. E); In re
      have not had and do not have a consistent policy or     Guerra, 24 I. & N. Dec. 37
 15
      practice of considering alternatives to detention at    (BIA 2006)
 16   bond hearings for class members.
 17
 18                                     Conclusions of Law
 19         All Class members -- persons detained pursuant to 8 U.S.C. §§ 1225(b),
 20   1226(a), 1226(c), 1231(a) without adequate bond hearings for six months or more --
 21   are entitled to a bond hearing that considers the likelihood that a detainee will
 22   ultimately be deported. See Owino v. Napolitano, 575 F.3d 952, 955 (9th Cir. 2009)
 23   (holding that when a noncitizen is “not significantly likely to be removed” upon
 24   conclusion of judicial and administrative review of his case, continued detention is
 25   unreasonable “and no longer authorized by statute”) (citations omitted); Nadarajah v.
 26   Gonzales, 443 F.3d 1069 (9th Cir. 2005) (finding that detention of individual who had
 27
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               PETITIONERS’ STATEMENT OF UNCONTROVERTED FACTS AND CONCLUSIONS
               OF LAW IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT OR ADJUDICATION
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  1   won asylum and CAT relief was no longer authorized by statute despite pending
  2   government appeal to Attorney General).
  3         All Class members are entitled to a bond hearing that considers the length of
  4   past and future detentions. See Diouf II, 634 F.3d at 1091 (recognizing that detainees’
  5   deprivation of liberty worsens as detention lengthens).
  6         All Class members are entitled to a bond hearing that considers the use of
  7   alternatives to detention. See United States v. Salerno, 481 U.S. 739, 750-52 (1987)
  8   (upholding a federal bail statute permitting pretrial detention in part because the
  9   statute required strict procedural protections for detention, including prompt hearings
 10   before a judicial officer where the government bore the burden of proving
 11   dangerousness by clear and convincing evidence that no conditions short of detention
 12   would satisfy the government’s interest in preventing flight and danger).
 13
 14      Issue 7: All Class Members Are Entitled To Automatic And Periodic Bond
 15           Hearings And Adequate Advanced Notice Prior To Bond Hearings
 16                  Uncontroverted Facts                        Supporting Evidence
 17   Respondents do not have a policy or practice of         Fong Depo. at 46:3-9 (Jacobs
      providing and would not provide periodic bond           Dec. Ex. E)
 18   hearings to persons in the Class who are either
 19   denied bond at their first bond hearing after six
      months or unable to pay the bond set at that first
 20   bond hearing.
 21   The administrative burden on Respondents to             Dkt. 165 (stipulation regarding
      provide a bond hearing at least once every six          costs); Fong Depo. 17:2-4,
 22   months is low, especially when compared to the          19:3-5, 96:2-97:6 (attached as
 23   costs of detention.                                     Ex. 2 to Dkt. Entry 3-3 in
                                                              Rodriguez v. Robbins, Case
 24                                                           No. 12-56734 (9th Cir. 2012))
 25   Respondents do not have a policy or practice of         Declaration of Stacy Tolchin,
      providing notice to allow the detainee or his or her    ¶¶ 6-8
 26
      counsel to receive notice at least 7 days in advance
 27   of bond hearings to Class members or their legal
      counsel.
 28
                                                7
               PETITIONERS’ STATEMENT OF UNCONTROVERTED FACTS AND CONCLUSIONS
               OF LAW IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT OR ADJUDICATION
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1                                       Conclusions of Law
2          All Class members -- persons detained pursuant to 8 U.S.C. §§ 1225(b),
3    1226(a), 1226(c), 1231(a) without adequate bond hearings for six months or more --
4    are entitled to automatic bond hearings. See Mathews v. Eldridge, 424 U.S. 319, 335
5    (1976); Doe v. Gallinot, 657 F.2d 1017, 1022 (9th Cir. 1981) (holding that the
6    protection of hearings that detainees must affirmatively request is “illusory” when
7    detainees “cannot realistically be expected to set the proceedings into motion”).
8          All Class members are entitled to at least one bond hearing every six months
9    after their initial bond hearing. Diouf II, 634 F.3d 1091 (“When the period of
10   detention becomes prolonged, ‘the private interest that will be affected by the official
11   action’ . . . is more substantial.”); id. at 1089 (noting that regulations establishing Post
12   Order Custody Reviews require them to occur at 180 days, 12 months, and 18
13   months).
14         All Class members are entitled to receive a notice that states in plain language
15   what they must know to prepare arguments and evidence or obtain legal counsel for
16   the hearing. See Padilla-Agustin v. INS, 21 F.3d 970 (9th Cir. 1994), overruled on
17   other grounds by Stone v. INS, 514 U.S. 386 (1995) (clarifying that “[p]articularly
18   when the alien is representing himself and has language difficulties, as is so often the
19   case . . . a high degree of clarity should be a part of the process accorded”); Orantes-
20   Hernandez v. Smith, 541 F.Supp. 351, 384 (C.D. Cal. 1982) (acknowledging, in
21   immigration detention context that “incarcerated persons, though most in need of an
22   opportunity to be heard, are least able to learn about their rights.”); see also Martinez
23   de Bojorquez v. Ashcroft, 365 F.3d 800, 804 (9th Cir. 2004) (holding that EOIR
24   failure to provide noncitizen notice of consequences of departures from United States
25   violated procedural due process); see also Walters, 145 F.3d at 1043 (striking down
26   INS procedures in part because “the alien never learns how to take advantage of
27   the . . . procedures because the combined effect of all the [immigration] forms
28   together is confusion”).
                                                 8
                PETITIONERS’ STATEMENT OF UNCONTROVERTED FACTS AND CONCLUSIONS
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1
2                     Background Facts                         Supporting Evidence
3    Approximately 70% of studied class members           Expert Report of Professor
     asserted claims for relief.                          Susan B. Long at 8-9, Table 7
4                                                         (attached as Exhibit A to
5                                                         Declaration of Susan B. Long)
     Approximately 30% of studied class members won Expert Rebuttal Report of
6    their cases.                                         Professor Susan B. Long at
7                                                         12-14, Table 37 (Long Dec.
                                                          Ex. B)
8    The average detention length for class members       Rebuttal Expert Statistical
9    was no less than approximately eleven months.        Report of Dr. Chester I.
                                                          Palmer at 6, Table L-2
10                                                        (Kaufman Dec. Ex. M).
11   Adopting the relief that Petitioners seek would save Kaufman Dec. ¶¶ 31-33; Dkt.
     government resources.                                165 (stipulation regarding
12                                                        costs)
13
14
                                            Respectfully submitted,
15
16   Dated:   February 8, 2013             ACLU OF SOUTHERN CALIFORNIA
17                                         /s/ Ahilan T. Arulanantham
18                                         AHILAN T. ARULANANTHAM
                                           Counsel for Petitioners
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              PETITIONERS’ STATEMENT OF UNCONTROVERTED FACTS AND CONCLUSIONS
              OF LAW IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT OR ADJUDICATION
